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                             United States Bankruptcy Court
                                             Southern District of New York
In re: Miami Metals I, Inc.                                                                Case No.: 18-13359

                                                                                            Court ID (Court use only)_____________

              NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security,
of the claim referenced in this notice.
Hain Capital Investors Master Fund, Ltd                       Bank Leumi USA
                                                              Name of Transferor

Name and Address where notices to transferee                                 Court Record Address of Transferor
should be sent                                                               (Court Use Only)
Hain Capital Investors Master Fund, Ltd
301 Route 17, 7th Floor
Rutherford, NJ 07070
Attn: Cheryl Eckstein
Phone: (201) 896 - 6100
Last Four Digits of Acct #: ______________                                   Last Four Digits of Acct. #: ___________

Name and Address where transferee payments                                   Name and Current Address of Transferor
should be sent (if different from above)
                                                                             Bank Leumi USA
                                                                             350 Madison Avenue, 5th Floor
                                                                             New York, NY 10017

Court Claim # (if known): 250
Date Claim Filed: 4/9/19

I declare under penalty of perjury that the information provided in this notice is true and correct to the best
of my knowledge and belief.

By:_/s/ Cheryl Eckstein                                                      Date: 5/1/19
         Transferee/Transferee’s Agent
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.

                                    ~~DEADLINE TO OBJECT TO TRANSFER~~
The transferor of claim named above is advised that this Notice of Transfer of Claim Other Than for
Security has been filed in the clerk’s office of this court as evidence of the transfer. Objections must be
filed with the court within twenty (20) days of the mailing of this notice. If no objection is timely received
by the court, the transferee will be substituted as the original claimant without further order of the court.

Date:___________                                                              ______________________________
                                                                             CLERK OF THE COURT
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